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   United States of America
 7
 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                          Case No. 2:13-cr-0206 MCE

12                                   Plaintiff,         STIPULATION AND ORDER RESETTING
                                                        SENTENCING HEARING FOR DEFENDANT
13                             v.                       ANTHONY SANCHEZ

14   ISRAEL WASHINGTON, et al.,

15                                   Defendants.

16

17                                                 STIPULATION

18           Plaintiff United States of America, by and through its counsel of record, and defendant Anthony

19 SANCHEZ, by and through his counsel of record, Ron Peters, Esq., stipulate and agree that the

20 currently-scheduled judgment and sentencing hearing for this defendant, currently set for October 8,
21 2015, should be moved to November 12, 2015, at 9:00 a.m.

22            IT IS SO STIPULATED.

23
24
     Dated: October 7, 2015                               /s/ JASON HITT
25                                                        JASON HITT
                                                          Assistant United States Attorney
26
     Dated: October 7, 2015                               /s/ RON PETERS, Esq.
27                                                        RON PETERS, Esq.
                                                          Counsel for Defendant, authorized to sign for Mr. Peters on
28                                                        October 7, 2015



       STIPULATION AND ORDER
            Case 2:13-cr-00206-DAD Document 159 Filed 10/09/15 Page 2 of 2


 1                                              ORDER
 2        Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:
 3            1. The judgment and sentencing hearing for defendant Anthony SANCHEZ on October 8,
 4               2015, is VACATED; and
 5            2. Judgment and sentencing for defendant SANCHEZ is set for November 12, 2015, at
 6               9:00 a.m.
 7         IT IS SO ORDERED.

 8   Dated: October 9, 2015

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